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Case 4:94-cr-00121 Document 1112-4 Filed on 01/03/18 in TXSD Page 10 of 46

 

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this axrtifies that

Darrell Adams
Has successfully completed
15 Adult Continuing Education aredit hours tr
Legal Research

USP BEAUMONT, TEXAS
On this 20th day of November, 2000

Supervisor of HEdtucation

 
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| Occupational Safety & Health Administration
GENERAL INDUSTRY ©. |
SAFETY & HEALTH
OUTREACH TRAINING PROGRAM -

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PRESENTED TO |

LL W. ADAMS.

for successful completion of the following vopics
as part of the Adult Continuing Education Program

INTRODUGTION Te OSHA.
PERSONAL PROTECTIVE EQUIPMENT

HAZARD GOMMUNIGATION .
FLAMMABLE AND-GOMBUSTIBLE LIQUIDS

APRIL 2014

MACHINE GUARD ING
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Adit Continuing Fducalion Program
—~ Certificate of A

ACHIEVEMENT

This Certifies that

Darrell Adams

-has completed the requirements for the class
Abilities © Possibilities,
and is therefore issued this certificate.
“Presented by the Education Department, USP Big Sandy

June 30, 2006

 

 

S.Walters, Supervisor of Education

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 6 of 32

 

Adult Continuing Education

ACHIEVEMENT

‘This Certifies that

Darrell Adams

has completed the requirements for the class

Your Stratigic Future, |
and is therefore issued this certificate.
Presented by the Education Department,USP Big Sandy

June 30, 2006

Lo detins

S.Walters, Supervisor of Education ‘ ¥, “y te ms fi Olial Training Instructor

 

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD- Page 7 of 32

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00121 Document 1112-4 Filed on 01/03/18 in TXSBs

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This is awatded to
Sor Completion of: Beginning Cetamics Class

At USP. Big Sandy

. This Cortificate és awarded on this 10" Day of! Danuary, 2007

 

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CF W3:own, Kecteation Specialist

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD_ Page 8 of 32

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DL.

 

Darrell Adams

 

Has successfully met all of the
requirements for completion of
the “Basic Chess Class" at
FCC Terre Haute.

D. Lewis, Recreation Specialist XK Dupes, ues, Supervisor of Recreation
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 10 of 32

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Darrell Adams.

 

 

 
 
        

 

 

 
 
 

 
 

i Has successfully completed the required instruction for the
Boot Swiss Ball Class from October through December 2010 at Sy
USP Allenwood. ,

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| ; 0 Certificate of cAchievement 00

This certifies that
Darrell Adams
has satisfactorily completed

YOGA Class

Consisting of 4 Hours of Training

This certificate is hereby issued this ist day of April, 2011.

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B. Kramer, Recreation Specialist

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D. Holcomb, FCC Supervisor of Recreation

 

 

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 14 of 32

Document 1112-4 Filed. on 01/03/18 in TXSD Pane 21 of 46

_ Case 4°94-cr-00121

 

 

 

 

 

 

 

 

© Certifiente of Achievement ©
This certifies that
Darrell Adams:

has satisfactorily compieted
Plyo/Medicine Ball Class:

Consisting of _4 Hours of Training

This certifi cate is hereby issued this _3ist__ day of March 2011.

Bhble a be

B. Kramer, Recreation Specialist Dd. Holcomb, FCC Supervisor of Recreation

 

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Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 15 of 32

Case 4:94-cr-00121 Document 1112-4’ Filed on 01/03/18 in TXSD__Page 22 of 46

 

 

 

00 Certificate of Achievement e0

This certifies that

Darrell Adams

has satisfactorily completed

| 50 and Over Class

_ Consisting of 4 Hours of Training

This certificate i is hereby issued this _ _28th day of March 2011.

SO

 

 

 

 

 

B. Kramer, Recreation Specialist

D. Holcomb, FCC Supervisor of Recreation

 

 

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Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD_ Page 16 of 32

 

 

 

20 Certificate of Achievement eo

This certifies. that
_Darrell Adams

has satisfactorily completed
Swiss Ball Class

Consisting of 4 Hours of Training

: This certificate i is hereby issued this 29th _ day of March 2011.

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B. Kramer, Recreation Specialist - D. Holcomb, FCC Supervisor of Recreation

 

 

 

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Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD_ Page 17 of 32

 

 

 

 

 

(© Certificate of Achievement ©
This certifies that .
Darrell Adams
has satisfactorily completed

Swiss Ball Class

Consisting of _4_ Hours of Training |

This certificate is hereby issued this _26th day of June 2011.

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’ B. Kramer, Recreation Specialist , , : D. Holcomb, FCC Supervisor of Recreation

 

 

 

 

 

 

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD_ Page 18 of 32

 

 

 

 

 

© Certificate of Achievement ©
This certifies that
Darrell Adams

has satisfactorily completed

50 and Over Class

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Consisting of 4. Hours of Training ©

This certificate i is hereby issued this 26th day of June 2011.

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B. Kramer, Recreation Specialist D. Holcomb, FCC Supervisor of Recreation.

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0 Certificate of Achievement ©
This certifies that
Darrell Adams

has satisfactorily completed
Stretching Class

Consisting of 4 Hours of Training

This certificate is hereby issued this 26th _ day of June 2011.

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_ B. Kramer, Recreation Specialist . D. Holcomb, FCC Supervisor of Recreation

 

 

 

 

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0 Certifiente of “Achievement ©
This certifies that _

Darrell Adams

has satisfactorily completed
Plyo/Medicine Ball Class

Consisting of 4. Hours of Trainin

This certificate is hereby issued this | 26th day of June 2011.

B. Kramer, Recreation Specialist ‘ : . D. Holcomb, FCC Supervisor of Recreation

 

 

 

 

 

 

 

 

 
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This certifies that
D. ADAMS #66135-079

7 has satisfactorily completed |

WELLNESS HEALTH & FITNESS CLASS
Consisting of _15 _ Hours of Training

This certificate is hereby issued this _ 26th day of _May_

 

== Certificate of Achiev ement

 

D. CULLISON, RECREATION SPECIALIST: . . R. NUCI, ASOR

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‘Education Department

FCC Beaumont - Medium, Texas
OCTOBER 2016

 

 

 

 

 

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CERTIFICATE of ACHIEVEMENT

THIS ACKNOWLEDGES THAT

 

 

Darrell Adams

 

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JULY 15TH, |

_-o-~ Athletes and Efficient Hearts Self Study Course “=

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D. BOWEN , Recreation Specialist, USP McCreary KY

  

 

 
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CERTIFICATE of ACHIEVEMENT

THIS ACKNOWLEDGES THAT

Darrell Adams

KAS SUCCESSFULLY COMPLETED THE

 

 

Eating to Win Study Course

 

 

 

 

 

 
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CERTIFICATE of ACHIEVEMENT

THIS ACKNOWLEDGES THAT

Darrell Adams

WAS SUCCESSFULLY COMPLETED THE

 

 

Sports Marketing Study Course

 

D. BOWEN , Recreation Specialist, USP McCreary KY

  

 

 

 
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 29 of 32

 

 

 

 

CERTIFICATE of ACHIEVEMENT

THIS ACKNOWLEDGES THAT

Darrell Adams

WAS SUCCESSFULLY COMPLETED THE

 

 

Nutrition Self Study Course

 

D. BOWEN , Recreation Specialist, USP McCreary KY

 

 

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Certificate
OF COMPLETION

awarded to

Darrell Adams

 

 

The Healthy Minds and Bodies Program

 

 

   

 

D. Bowen/ Recreation Specialist

Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 30 of 32

 

 

September 16, 2020
Case 4:94-cr-00121 Document 1128-2 Filed on 09/30/20 in TXSD Page 31 of 32

 

 

 

 

 

 

You are now enrolled in the USP McCreary Recreation
Department Healthy Minds and Bodies Program.

This Program is a Six (6) Journal, 12 week self-study
program.

To graduate the program you will have to complete at least
80% of all six (6) Journals.

When you successfully complete the program you'll receive
24 hours of Sentry credit.

The six (6) Class Journals are:
Health Journal, Eat Smart,
Weight Management, Diabetes & You,
The Courage to Change, and
Enjoying the Second Half of Life

Recreation Specialist D. Bowen

 

 

 

 

 

 

 
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DATE REVIEWED:

INSTITUTION: MCR UNIT: 1A
INMATE NAME: ADAMS, DARRELL REG NO: 66135-079
FIRST STEP ACT (Circle One): ELIGIBLE / INELIGIBLE

RECIDIVISM RISK LEVEL (Circle One): MINIMUM (o¥ MEDIUM HIGH
